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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

  ------------------------------------------------------ x
                                                         :
  ILLUMINA, INC.,                                        :
                                                         :
                                  Plaintiff,             :
                         v.                              :          C.A. No. 1:22-cv-334-VAC
                                                         :
  GUARDANT HEALTH, INC.; HELMY                           :
  ELTOUKHY; and AMIRALI TALASAZ                          :
                                                         :
                                  Defendants.            :
  ------------------------------------------------------ x



      DEFENDANTS’ OPENING BRIEF IN SUPPORT OF MOTION TO DISMISS
   UNDER FEDERAL RULES OF CIVIL PROCEDURE 12(B)(1), 12(B)(2), AND 12(B)(6)


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   Dated: May 25, 2022                                       *pro hac vice pending
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  I.     NATURE AND STAGE OF THE PROCEEDINGS

         This action is a brazen attempt by Illumina to put its chief rival out of business and stifle

  competition in the market for life-saving cancer technologies—a move that would suppress

  innovation and raise prices, all to the detriment of healthcare consumers and cancer patients in the

  U.S. and abroad. Illumina does not seek to vindicate any legitimate rights against Guardant.

  Illumina wants to force Guardant out of the market by bringing this sham patent and trade secrets

  case premised on alleged conduct that occurred ten years ago. Illumina’s claims are hopelessly

  time-barred and deficient as a matter of the law. The Court should dismiss the complaint.

         Defendant Guardant Health Inc. (“Guardant”) is a trailblazing company that is

  revolutionizing the fight against cancer through blood-based cancer detection testing. Guardant

  was founded in 2012 by Defendants AmirAli Talasaz and Helmy Eltoukhy, who are entrepreneurs

  and pioneers in the biotech industry. Before founding Guardant, Dr. Talasaz and Dr. Eltoukhy

  worked for Illumina, Inc. (“Illumina”), which develops and manufactures tools for analysis of

  genetic variation and function. Dr. Talasaz and Dr. Eltoukhy left Illumina in 2012 and 2013,

  respectively, to work for Guardant. Since Guardant’s founding, Illumina has been a close partner

  of Guardant. Illumina has supplied Guardant with the next generation sequencing instruments

  upon which Guardant’s cancer detection testing technology is built. As a supplier to Guardant for

  nearly a decade, Illumina has had extensive interaction with Guardant and access to proprietary

  data about Guardant’s development and the commercialization of its testing technology. Over the

  course of its years-long relationship with Guardant, Illumina never once claimed Guardant or its

  founders misappropriated Illumina’s intellectual property or proprietary information.

         In 2021, Illumina acquired GRAIL for $8 billion. GRAIL is Guardant’s main competitor

  in developing and marketing blood-based cancer tests. The Federal Trade Commission (“FTC”)

  concluded Illumina’s acquisition of GRAIL would harm innovation and potentially increase prices
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  in violation of the antitrust laws and sued to block the deal.       The Directorate-General for

  Competition of the European Commission also took issue with the proposed transaction based on

  concerns about its anticompetitive effects. Remarkably, in an unprecedented move, Illumina

  closed the acquisition in the face of the objections of these regulators. Once Illumina acquired

  GRAIL, everything changed. Illumina turned on Guardant, its longtime business partner and new

  competitor. Months after Illumina closed its acquisition of GRAIL, Illumina manufactured and

  launched this lawsuit, claiming for the first time Guardant’s technology belongs to Illumina.

         The timing of this lawsuit reveals Illumina’s true motives. Illumina’s lawsuit comes

  shortly after Guardant cooperated with the FTC in its antitrust investigation of the proposed

  Illumina-GRAIL transaction, and just months after two Guardant executives publicly testified

  against the transaction during the FTC’s administrative trial. Illumina admits in the Complaint it

  has known about Defendants’ supposed misappropriation of confidential information since at least

  June 2019—and Guardant’s public patent applications have put Illumina on inquiry notice—at

  minimum—for much longer. Illumina offers no excuse for its years-long delay in filing this

  lawsuit. Illumina also does not (and cannot) identify any specific competitive harm or damages

  Illumina suffered as a result of the purported misappropriation. Illumina’s delay in filing this

  action—and the fact that it never once complained about the conduct that now forms the basis of

  its complaint 1 —make clear Illumina brought this retaliatory lawsuit to punish Guardant for


  1
    After Defendants filed this brief, Illumina sent an email saying this sentence and others like it
  were “inaccurate” because counsel for Illumina and Guardant discussed the claims in this case in
  the lead-up to this lawsuit. Specifically, Illumina approached Guardant in May 2021—in advance
  of filing this action—concerning Illumina’s potential claims relating to Guardant’s alleged
  misappropriation of Illumina information. Ten months later, Illumina filed this action about the
  very same subject matter. It is common for the plaintiff to reach out to the defendant in the lead
  up to the filing of suit. But this pre-litigation approach does nothing to change the fundamental
  point made in Defendants’ motion: for nearly a decade, Illumina—Guardant’s close partner and
  supplier—never once expressed any concerns or raised a claim that Guardant or its founders

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  cooperating in a federal law enforcement investigation and inhibit fair and robust competition in

  the market. If Illumina is permitted to eliminate competition in this way, innovation will dwindle

  and prices will increase, all to the detriment of cancer patients. In the Complaint, Illumina seeks

  to acquire ownership of 35 of Guardant’s patents, including patents foundational to Guardant’s

  business. Illumina’s anti-competitive tactics are an abuse of the court system. Its claims against

  Guardant should be dismissed as a matter of law.

  II.    SUMMARY OF THE ARGUMENT

         The Court should dismiss all claims in the Complaint pursuant to Federal Rules of Civil

  Procedure 12(b)(1), 12(b)(2), and 12(b)(6), respectively, for the following reasons.

         1.      Illumina’s inventorship and ownership claim fails as a matter of law for at least

  three reasons. Illumina fails to plead the elements required under 35 U.S.C. § 256 for a joint

  inventorship claim; Illumina lacks standing to challenge the inventorship of Guardant’s patents

  because it has not alleged an ownership interest; and only the U.S. Patent and Trademark Office

  (“USPTO”) has the power to correct the inventorship of pending patent applications.

         2.      Illumina’s misappropriation of trade secrets claim under the California Uniform

  Trade Secrets Act (“CUTSA”) is also not actionable. Illumina is required to identify the trade

  secrets at issue, not simply list broad categories of allegedly confidential information, without

  specificity or limitation. But that is precisely what the Complaint does. Illumina pleads an open-

  ended list of broad categories of information Defendants purportedly misappropriated—including,

  for example, Illumina’s “knowledge, methods, techniques, processes, programs, and compilations




  misappropriated Illumina’s information. It was only in the aftermath of Illumina’s deal to acquire
  GRAIL and Guardant’s cooperation with regulators that Illumina approached Guardant in May
  2021 with potential claims, which materialized into this retaliatory lawsuit months later in March
  2022.

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  for genetic sequencing.” (Compl. ¶ 104.) But Illumina never points to even a single, specific item

  of information within those categories it contends is a trade secret. This is insufficient as a matter

  of law. To the extent Illumina attempts to identify any alleged trade secrets with particularity,

  those purported trade secrets were publicly disclosed in Guardant’s patent applications filed at

  least six years ago and are therefore barred by the CUTSA’s three-year statute of limitations.

         3.      Illumina’s breach of contract claims are also time-barred because they arise from

  alleged conduct that occurred a decade ago while Drs. Eltoukhy and Talasaz were employed at

  Illumina. Illumina attempts to plead around the clear statute of limitations bar by alleging it did

  not learn of the alleged breaches—which include Drs. Eltoukhy and Talasaz’s incorporation of

  Guardant in 2011 and purported misappropriation in 2012—until 2019. This makes no sense.

  Illumina could have discovered any purported misappropriation of confidential information with

  minimal diligence. And publicly available information, including Guardant’s patent applications

  and SEC filings, put Illumina on, at a minimum, inquiry notice of the alleged breaches many years

  ago. In any event, Illumina’s contract claims are fatally deficient on the pleadings. Illumina fails

  to plead the material terms of any of the contracts Drs. Eltoukhy and Talasaz supposedly breached.

         4.      Illumina’s trade secret and contract claims against Drs. Eltoukhy and Talasaz also

  fail for lack of personal jurisdiction. Illumina fails to establish Drs. Eltoukhy and Talasaz, who

  have no connection to Delaware other than their roles with Guardant (a Delaware corporation) and

  their involvement in unrelated patent litigation, are subject to personal jurisdiction in Delaware.

  III.   STATEMENT OF FACTS

         A.      Dr. Eltoukhy and Dr. Talasaz Co-Founded Guardant to Develop Life-Saving
                 Cancer Testing Technology

         Guardant is a precision oncology company based in Redwood City, California. (Compl.

  ¶ 10.) Guardant is dedicated to helping cancer patients live longer and healthier lives through the


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  power of genetic sequencing that can detect and identify cancers based on DNA found in blood

  samples.

         Guardant was co-founded by Dr. Talasaz, who joined Guardant as its first employee in

  June 2012 (Compl. ¶¶ 11, 28-30), and Dr. Eltoukhy, who was an early investor in Guardant and

  joined the company as an employee in January 2013 (id. ¶¶ 11, 63-64). Drs. Eltoukhy and Talasaz

  are the co-CEOs of Guardant. Drs. Eltoukhy and Talasaz previously worked for Illumina, which

  is a company headquartered in San Diego that develops and manufactures tools for analysis of

  genetic variation and function. (Id. ¶ 4.) Dr. Talasaz was hired by Illumina in 2009, and worked

  for Illumina until June 25, 2012. (Id. ¶¶ 17, 28.) Dr. Eltoukhy was hired by Illumina in 2008,

  submitted his resignation in December 2012, and left Illumina on January 2, 2013. (Id. ¶¶ 17, 63.)

         B.      Illumina Alleges that Defendants Misappropriated Its Confidential
                 Information a Decade Before Filing This Action

         Illumina’s claims arise from Defendants’ alleged misappropriation of Illumina’s

  intellectual property a decade ago. First, the Complaint alleges that Illumina employees somehow

  contributed novel concepts and work to 35 patents assigned to Guardant. (Compl. ¶ 85.) Illumina

  alleges that Dr. Eltoukhy, while employed at Illumina in 2012, collaborated with Dr. Talasaz and

  contributed to the conception of certain of the claims in these 35 patents and that other Illumina

  employees (Illumina identifies only Frank Steemers) also contributed to the conception of certain

  of these 35 patents. (Id. ¶ 91; see id. ¶¶ 40-62.) Illumina alleges that the inventorship of

  Guardant’s patents should be “corrected” to add as inventors Dr. Eltoukhy and at least

  Mr. Steemers, “a senior Illumina director and researcher,” who, according to Illumina, would then

  be obliged to assign their rights in those inventions to Illumina. (Id. ¶¶ 40, 93-96, 100-102.)

         Illumina further alleges that during the second half of 2012, Dr. Eltoukhy provided

  assistance to Guardant by obtaining and forwarding Illumina confidential material to his personal


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  Gmail account and at times forwarding Illumina information to Dr. Talasaz, who by that time was

  working for Guardant. (Compl. ¶ 49.) The Complaint does not allege that Dr. Talasaz himself

  ever used Illumina confidential information in his invention process. Illumina alleges only that

  Dr. Eltoukhy somehow used this information to “collaborate with” Dr. Talasaz. (Id. ¶ 91.)

         Second, Illumina alleges Defendants misappropriated Illumina’s trade secrets, including

  by Dr. Eltoukhy’s requesting, and sharing with Dr. Talasaz, PowerPoint slides from Mr. Steemers

  in June 2012, and through Dr. Eltoukhy’s retention of his Illumina computer, which contained

  approximately 51,000 emails, when his employment ended in January 2013. (Compl. ¶¶ 46-47,

  65, 105-06.) Illumina claims it suffered some unspecified competitive harm and damages as a

  result of this alleged misappropriation. (Id. ¶¶ 114-16.) Illumina does not, however, allege how

  Dr. Talasaz relied on any of these Illumina materials in inventing anything for Guardant.

         In 2019, six years after Dr. Eltoukhy left Illumina, during discovery in a separate litigation

  against Foundation Medicine, Inc. and Personal Genome Diagnostics, Guardant discovered the

  existence of these emails in a backup of Dr. Eltoukhy’s computer. (Compl. ¶¶ 75-78.) Illumina

  does not allege Dr. Eltoukhy or anyone else at Guardant was aware of, had access to, or accessed,

  these files between 2013 and 2019. Illumina never alleges it was unaware of Drs. Eltoukhy and

  Talasaz’s active involvement in Guardant after they left Illumina—nor could it given the close and

  longstanding partnership between the two companies. Illumina also does not allege it performed

  any diligence whatsoever between the end of Drs. Talasaz’s and Eloutkhy’s employment with

  Illumina (in 2012 and 2013, respectively) and 2019 in order to determine whether they had taken

  any confidential Illumina information. The Complaint also admits that Illumina has known about

  the purported misappropriation of these emails since at least June 2019 (id. ¶¶ 75, 78), yet

  inexplicably waited nearly three years before filing this lawsuit. Even worse, despite having

  known about the allegedly misappropriated emails for years, the Complaint is devoid of any factual

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  allegations identifying even a single misappropriated trade secret in any of these emails.

         Third, Illumina alleges Drs. Talasaz and Eltoukhy breached “various employment contracts

  and company policies” by “incorporat[ing] Guardant” in 2011 while they were employed at

  Illumina. (Compl. ¶¶ 122, 125, 133, 136.) Illumina further alleges Dr. Eltoukhy breached these

  contracts by (1) “acting as an advisor, corporate agent, and fiduciary of Guardant while employed

  by Illumina” (id. ¶ 125); (2) transferring “Illumina confidential and propriety information outside

  of Illumina” (id. ¶ 125; see id. ¶¶ 40-49, 53-57); and (3) “contribut[ing] to the development of

  Guardant’s technology while an employee of Illumina” (id. ¶ 125). Illumina claims it “first

  learned” of these alleged breaches in June 2019 and June 2020 (id. ¶¶ 128, 139)—even though

  Guardant’s incorporation in 2011 and Drs. Talasaz’s and Eltoukhy’s work for Guardant starting in

  2012 and 2013, respectively, was disclosed in SEC filings, press releases and other public sources. 2

  IV.    ARGUMENT

         A.      Legal Standard

         A complaint is subject to dismissal under Rule 12(b)(6) “if it tenders ‘naked assertion[s]’

  devoid of ‘further factual enhancement’”; a complaint “that offers ‘labels and conclusions’ or ‘a

  formulaic recitation of the elements of a cause of action will not do.’” Ashcroft v. Iqbal, 556 U.S.

  662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 557 (2007)). “[A] court

  need not credit a complaint’s ‘bald assertions’ or ‘legal conclusions’ when deciding a motion to

  dismiss,” Morse v. Lower Merion Sch. Dist., 132 F.3d 902, 906 (3d Cir. 1997), nor is it obligated


  2
    See, e.g., Silver Decl., Exs. 1-4 (Guardant SEC Forms D filed in 2014, 2015, and 2016; each
  listing 2011 as Guardant’s “Year of Incorporation/Organization”); id., Ex. 5 (Aug. 26, 2014 press
  release identifying Dr. Eltoukhy the “Co-Founder and Chief Executive Officer” of Guardant and
  describing Guardant’s accomplishments “[i]n just two years”); id., Ex. 6 (Sept. 19, 2013 press
  release describing Dr. Eltoukhy as the “Founder” of Guardant). The Court may take judicial notice
  of publicly available SEC filings and news articles. See In re Chemed Corp., Shareholder
  Derivative Litig., 2015 WL 9460118, at *1 n.2 (D. Del. Dec. 23, 2015) (SEC filings); Neuberger
  v. Gordon, 567 F. Supp. 2d 622, 630 (D. Del. 2008) (news article).
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  to credit allegations that are “self-evidently false.” Nami v. Fauver, 82 F.3d 63, 69 (3d Cir. 1996).

         A complaint is further subject to dismissal under Rule 12(b)(1) where a plaintiff lacks

  Article III standing. Where a defendant challenges the sufficiency of the allegations to support

  Article III standing, the Rule 12(b)(1) motion is considered a “facial attack” and courts “apply the

  same standard as on review of a motion to dismiss under Rule 12(b)(6).” In re Horizon Healthcare

  Servs. Inc. Data Breach Litig., 846 F.3d 625, 633 (3d Cir. 2017).

         Rule 12(b)(2) permits a party to challenge a court’s exercise of personal jurisdiction over

  him or her. “[T]he plaintiff bears the burden of establishing, with reasonable particularity, that

  sufficient minimum contacts have occurred between the defendant and the forum to support

  jurisdiction.” inno360, Inc. v. Zakta, LLC, 50 F. Supp. 3d 587, 592 (D. Del. 2014). That showing

  requires both “a statutory basis for jurisdiction under the forum state’s long-arm statute” and that

  “the exercise of jurisdiction comports with the defendant’s right to due process.” Id.

         B.      Illumina Has Failed to Plead a Plausible Inventorship and Ownership Claim
                 under 35 U.S.C. § 256

         Illumina claims ownership of thirty-five (35) Guardant patents 3 and at least nine related

  patent applications with a two-part argument: it first argues Dr. Eltoukhy, Mr. Steemers, or both

  should be added as joint inventors, and then argues it owns the patents based on employment

  agreements it neither attached to its Complaint nor pleaded by their essential terms.


  3
    The first patent family (the “ʼ127 Patent Family”) includes 19 of the Patents at Issue: the ʼ127
  Patent (Ex. F), ʼ731 Patent (Ex. A), ʼ882 Patent (Ex. B), ʼ743 Patent (Ex. C), ʼ7063 Patent (Ex. R),
  ʼ995 Patent (Ex. G), ʼ678 Patent (Ex. H), ʼ808 Patent (Ex. I), ʼ810 Patent (Ex. J), ʼ556 Patent
  (Ex. K), ʼ364 Patent (Ex. N), ʼ916 Patent (Ex. O), ʼ663 Patent (Ex. Q), ʼ592 Patent (Ex. AA), ʼ171
  Patent (Ex. U), ʼ172 Patent (Ex. V), ʼ600 Patent (Ex. Z), ʼ376 Patent (Ex. CC), and ʼ899 Patent
  (Ex. DD). The second patent family (the “ʼ992 Patent Family”) includes nine of the Patents at
  Issue: the ʼ992 Patent (Ex. D), ʼ974 Patent (Ex. Y), ʼ152 Patent (Ex. T), ʼ086 Patent (Ex. M), ʼ085
  Patent (Ex. L), ʼ797 Patent (Ex. FF), ʼ880 Patent (Ex. S), ʼ265 Patent (Ex. BB), and ʼ796 Patent
  (Ex. EE). The third patent family (the “’366 Patent Family”) includes seven of the Patents at Issue:
  the ʼ366 Patent (Ex. E), ʼ139 Patent (Ex. W), ʼ1063 Patent (Ex. P), ʼ858 Patent (Ex. CC), ʼ221
  Patent (Ex. GG), ʼ306 Patent (Ex. HH), and ʼ307 Patent (Ex. II).
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          Illumina’s ownership claims fail as a matter of law for three reasons. At the outset, its

  allegations are impermissibly vague and conclusory, especially given the number of Guardant

  patents Illumina seeks to co-opt. Illumina fails to identify any specific contribution it allegedly

  made to the vast majority of the 35 Guardant patents Illumina supposedly co-invented. And for

  the handful of remaining patents, Illumina’s alleged contributions are far too vague and conclusory

  to satisfy pleading requirements. Moreover, even if the allegations of co-inventorship were

  sufficient—which they are not—Illumina fails to adequately plead any plausible basis it has an

  ownership interest in the patents, since it fails to attach or adequately describe the alleged

  agreements that provide such an interest. Finally, Illumina’s ownership claim over the nine patent

  applications is facially deficient, as a party cannot pursue ownership of a yet-to-issue patent

  application in district court.

                  1.      Illumina Failed to Plausibly State a Claim for Inventorship

          Illumina cannot get over even the first hurdle of its two-part argument because it does not

  plausibly allege its personnel are co-inventors of the 35 Patents at Issue. Since the premise of

  Illumina’s allegations is joint inventorship, Illumina must plausibly plead facts from which it can

  be concluded each alleged joint inventor “contribute[d] to the joint arrival at a definite and

  permanent idea of the invention as it will be used in practice” and there was some “collaboration”

  and concerted effort between inventors. Burroughs Wellcome Co. v. Barr Labs. Inc., 40 F.3d 1223,

  1227, 1229 (Fed Cir. 1994); see also Vanderbilt Univ. v. ICOS Corp., 601 F.3d 1297, 1303, 1306-

  08 (Fed. Cir. 2010) (“a group of co-inventors must collaborate and work together to collectively

  have a definite and permanent idea of the complete invention”); Eli Lilly & Co. v. Aradigm Corp.,

  376 F.3d 1352, 1359 (Fed. Cir. 2004) (similar). The allegations must also plausibly allege the

  would-be inventors made inventive contributions. Ethicon, Inc. v. U.S. Surgical Corp., 135 F.3d

  1456, 1460 (Fed. Cir. 1998). Merely providing “well-known principles or explain[ing] the state

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  of the art without ever having a ‘firm and definite idea’” is not enough. Id.; see also In re VerHoef,

  888 F.3d 1362, 1366 (Fed. Cir. 2018).

          Illumina seeks to name Dr. Eltoukhy as a joint inventor of the ʼ127 and ʼ992 Patent

  Families, and Mr. Steemers as a joint inventor of the ʼ127, ʼ992, and ʼ366 Patent Families,

  comprising in all 35 issued U.S. patents (Compl. ¶¶ 143(A)-(B)). But Illumina’s Complaint makes

  only conclusory assertions describing Dr. Eltoukhy’s contributions, and even then, only in

  reference to seven claims of the 178 claims in seven of the patents in the ʼ127 and ʼ992 Patent

  Families.4 (Compl. ¶¶ 93-95.) The Complaint says nothing at all (conclusory or otherwise) about

  Dr. Eltoukhy’s contributions as to the other patents in those families. 5 Illumina also does not

  explain how, on the basis of Dr. Eltoukhy’s alleged contribution to the conception of claims in

  seven patents, it is able to infer that he also contributed to the conception of those patents’ parent

  patents, sister patents, or patents in a different branch of a patent family. 6

          For those few patents that Illumina actually purports to address, Illumina’s claims about

  Dr. Eltoukhy’s alleged contributions are insufficient to state a claim. See Blackhawk Network Inc.

  v. SL Card Co., Inc., 2022 WL 704032, at *7-8 (D. Ariz. Mar. 9, 2022) (finding allegations similar

  to Illumina’s to be insufficient to state claim and explaining “[s]imply stating that [certain]



  4
    In the ʼ127 Patent Family, Illumina alleges Dr. Eltoukhy contributed to the conception of claim
  1 of the ʼ731 Patent, claim 10 of the ʼ743 Patent, claim 24 of the ʼ995 Patent, and claim 1 of the
  ʼ810 Patent. In the ʼ992 Patent Family, Illumina alleges that he contributed to the conception of
  claim 23 of the ʼ152 Patent and claim 20 of the ʼ880 Patent. And in the ʼ366 Patent, Illumina
  alleges conception of claim 2 of the ʼ858 Patent.
  5
    Illumina alleges nothing about Dr. Eltoukhy’s contribution to patents including the ʼ127 Patent,
  ʼ882 Patent, ʼ7063 Patent, ʼ678 Patent, ʼ808 Patent, ʼ916 Patent, ʼ556 Patent, ʼ364 Patent, ʼ663
  Patent, ʼ592 Patent, ʼ171 Patent, ʼ172 Patent, ʼ600 Patent, ʼ376 Patent, ʼ899 Patent, ʼ992 Patent,
  ʼ974 Patent, ʼ086 Patent, ʼ085 Patent, ʼ797 Patent, ʼ265 Patent, ʼ796 Patent, ʼ366 Patent, ʼ139
  Patent, ʼ1063 Patent, ʼ221 Patent, ʼ306 Patent, and ʼ307 Patent. (See Compl. ¶¶ 93-94.)
  6
    For example, Illumina alleges conception of claims in the ʼ731 and ʼ743 Patents (i.e., two of the
  three children of the ʼ127 Patent). Illumina does not explain how conception of a claim in a child
  patent can be a basis to infer conception of a claim in the parent patent (here, the ʼ127 Patent).
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  employees contributed to [the patented] invention, without more, is insufficient to plausibly allege

  Article III standing”).     Illumina makes three allegations of supposed collaboration on

  Dr. Eltoukhy’s part: (1) that he forwarded to Dr. Talasaz PowerPoint slides that he had received

  from Mr. Steemers (Compl. ¶¶ 20-25, 46-49); (2) that he forwarded to Dr. Talasaz “additional

  Illumina material that was marked ‘Company Confidential’” (id. ¶ 53); and (3) that he emailed

  draft claims for Guardant patents from his Illumina email to his personal email two weeks before

  leaving Illumina (id. ¶¶ 54-55). None of these is adequate. The slides cannot be a basis for an

  claim of inventorship because Illumina does not assert that Dr. Eltoukhy created the slides or was

  even involved in their creation (Illumina never alleges who created them). The same is true of the

  “additional Illumina material”—Illumina never alleges what that “material” was, let alone who

  created it or whether Dr. Eltoukhy had anything to do with its creation. Similarly, the draft patent

  claims—without a great deal more—cannot be the basis for an inventorship claim. Drafting patent

  claims does not equal or even imply conception—wordsmithing patent claims does not make

  patent lawyers and prosecutors into inventors. Illumina has not come close, as it must, to “clearly

  . . . alleg[ing] facts demonstrating” Dr. Eltoukhy’s alleged contribution. See Spokeo v. Robins,

  578 U.S. 330, 338 (2016).

         Illumina also has not plausibly alleged that Dr. Eltoukhy collaborated with Dr. Talasaz or

  any other inventor—one of the requirements to be a joint inventor, Burroughs Wellcome, 40 F.3d

  at 1228. Illumina’s only allegation about collaboration is entirely conclusory and relates only to

  the ʼ127 Patent Family. (See Compl. ¶ 91.) Illumina’s assertion that “Eltoukhy and Talasaz

  worked on and discussed technology they would use to start Guardant” (id. ¶ 21; see id., ¶¶ 20,

  22-25, 91) is also conclusory and does not even reference an invention, let alone describe any

  related collaboration. Illumina’s allegation that Dr. Eltoukhy forwarded an email containing slides

  from Mr. Steemers to Dr. Talasaz after the latter’s departure from Illumina (id. ¶¶ 40-50) is also

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  inadequate. Even if forwarding to an inventor an email that someone else wrote could constitute

  collaboration by the forwarder in a subsequently-conceived invention, Illumina does allege to what

  invention in 35 patents and nine patent applications this supposed collaboration relates.

         Illumina’s allegations with respect to Mr. Steemers are even worse. For him, Illumina does

  not make any effort to allege what Mr. Steemers’s contributions were at all, if any. (Compare

  Compl. ¶¶ 93-95, with id. ¶ 90.) At most, Illumina claims that the slides Mr. Steemers provided

  to Dr. Eltoukhy—the sole basis for its inventorship claim as to Mr. Steemers—“reflected years of

  novel work by Illumina personnel” not necessarily including Mr. Steemers. (Id. ¶ 48.) Illumina

  alleges that these slides relate to “the error rate improvements and communications theory ideas

  Eltoukhy asked about.”     (Id. ¶ 46.)   But Illumina never alleges that Mr. Steemers created,

  contributed to, or even worked on the slides that were shared or the matters supposedly discussed

  therein. (See id. ¶ 48.) Illumina also does not allege that Mr. Steemers even knew anything about

  Dr. Eltoukhy’s ideas other than that Dr. Eltoukhy was “thinking about creating some Matlab

  models for some communication theory ideas he had on how to decode barcodes more effectively.”

  (Id. ¶ 42.)   Illumina clearly intends these allegations to suggest that Dr. Eltoukhy misled

  Mr. Steemers about Dr. Eltoukhy’s work with Guardant, but these allegations also foreclose any

  inference that Mr. Steemers and Dr. Eltoukhy were collaborating.

         The allegations with respect to both alleged co-inventors are insufficient and incomplete.

  As other district courts have found, to plausibly plead an inventorship claim, Illumina must

  “specifically identify any employee’s purported contribution or describe the manner in which any

  employee ‘worked collaboratively’ with [the named inventors].” Blackhawk Network Inc., 2022

  WL 704032, at *8. Illumina does nothing of the kind. As set out above, it does not adequately

  allege collaboration of Dr. Eltoukhy or Mr. Steemers with any inventor and it does not even allege

  the date of conception of any resulting invention.

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                 2.      Illumina Does Not Plausibly Allege an Ownership Interest in the
                         Patents at Issue, and Thus it Lacks Standing

         Even if Illumina had properly pled its allegations of co-inventorship, its ownership

  allegations still fail because they do not and cannot properly plead ownership of the patents.

  Pursuant to Rule 12(b)(1), Illumina thus lacks standing to change the inventorship of any Patents

  at Issue. See Czarnik v. Illumina, Inc., 437 F. Supp. 2d 252, 256-57 (D. Del. 2006) (“When

  asserting a facial challenge [to standing], a defendant contends that the complaint alleges facts

  that, even if true, would be insufficient to establish the Court’s jurisdiction.” (citing Gould Elecs.

  Inc. v. United States, 220 F.3d 169, 176 (3d Cir. 2000)). To maintain a claim in federal court,

  Illumina must meet Article III’s constitutional standing requirements: (1) an injury in fact that is

  concrete and actual or imminent; (2) the injury is fairly traceable to the conduct complained of;

  and (3) a judicial remedy can redress the injury. Id. at 256; see also Lujan v. Defenders of Wildlife,

  504 U.S. 555, 560-61 (1992). It is Illumina’s burden to clearly allege each element in its

  Complaint. Spokeo, 578 U.S. at 338 (“Where, as here, a case is at the pleading stage, the plaintiff

  must ‘clearly . . . allege facts demonstrating’ each element.” (alteration in original)).

         To plead a cognizable injury for an ownership claim under Section 256, Illumina must

  allege facts demonstrating that it has either expected ownership rights or an actual “concrete

  financial interest” in the Patents at Issue. See Chou v. Univ. of Chicago, 254 F.3d 1347, 1358-59

  (Fed. Cir. 2001); Larson v. Correct Craft, Inc., 569 F.3d 1319, 1326 (Fed. Cir. 2009); see also

  Whitewater West Indus., Ltd. v. Alleshouse, 981 F.3d 1045, 1047 (Fed. Cir. 2020) (holding

  assignment provision void under California law and employer thus “lack[ed] standing to contest

  inventorship”). Illumina asserts only a single basis for alleged inventorship under Section 256—

  the prospective acquisition of an ownership interest in the patents through an assignment provision

  supposedly contained in Dr. Eltoukhy’s and Mr. Steemers’s employment agreements, agreements


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  it neither provides to the Court nor sufficiently describes in the Complaint. (Compl. ¶¶ 97-98.)

  Notably, Illumina does not allege Mr. Steemers signed, or describe the terms of, any such

  agreement. (See id. ¶¶ 100, 102.) Illumina’s threadbare allegations are not sufficient to plead an

  ownership interest, and its inventorship claims should be dismissed for lack of standing.

                            a. Illumina Has Not Alleged a Sufficient Interest through
                               Dr. Eltoukhy’s Employment Agreements

         Illumina has not sufficiently pled an ownership interest to have standing to challenge the

  inventorship of the ʼ127 and ʼ992 Patent Families. Even assuming all of Illumina’s allegations are

  true and Dr. Eltoukhy conceived of the inventions claimed in the ʼ127 and ʼ992 Patent Families,

  by its own characterization, Illumina would not be able to claim ownership over those patent

  families. According to Illumina, Dr. Eltoukhy’s agreements required him to “assign to Illumina

  their inventions made while employed by Illumina that are related to Illumina’s business.”

  (Compl. ¶ 19 (emphasis added).) But Illumina never alleges Dr. Eltoukhy—or anyone else—

  conceived of the inventions claimed in the ʼ127 and ʼ992 Patent Families while Dr. Eltoukhy was

  employed by Illumina.      Instead, Illumina alleges only that Dr. Eltoukhy contributed to the

  inventions during his employment—not that any invention was conceived then. (E.g., id. ¶ 90

  (“Eltoukhy (while employed by Illumina) . . . contributed novel concepts and work to the

  inventions . . . .” (emphasis added)); ¶ 92 (“Eltoukhy, while employed at Illumina, contributed to

  the conception of claimed inventions . . . .” (emphasis added)); ¶¶ 62, 93-95 (same).)

         But an invention has not been “invented” any time a joint inventor merely makes some

  contribution to what ultimately becomes an invention. The legally relevant date—the date on

  which the invention was “invented” and the hypothetical assignment provision here, if valid,

  conceivably could have been triggered—is the date of conception, not contribution. See, e.g.,

  Allergan, Inc. v. Apotex Inc., 754 F.3d 952, 967 (Fed. Cir. 2014) (“The invention date [of a patent]


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  is the date of conception.”); Invitrogen Corp. v. Clontech Labs., Inc., 429 F.3d 1052, 1063 (Fed.

  Cir. 2005). Accordingly, even by Illumina’s own characterization of the assignment provision,

  Illumina would have no ownership interest in the ʼ127 and ʼ992 Patent Families absent some

  allegation (and ultimately proof) that the inventions in those patents were conceived of while

  Dr. Eltoukhy was employed by Illumina.7 There is no such allegation anywhere in the Complaint.

  And to the extent that Illumina seeks to force an assignment of any inventions conceived after

  Dr. Eltoukhy left Illumina in January 2013, the agreement is almost certainly invalid as a matter

  of California law. See Whitewater West Indus., 981 F.3d at 1053-58 (collecting cases and holding

  that California Labor Code § 2870(a) does “not [] apply to post-employment inventions”).

                            b. Illumina Has Not Alleged an Ownership Interest through
                               Mr. Steemers

         Unlike with Dr. Eltoukhy, Illumina does not even allege Mr. Steemers signed an

  employment agreement (or any other agreement) with Illumina requiring him to assign inventions

  to Illumina. Nor does it allege Mr. Steemers was otherwise obligated to assign any patent rights

  during his employment. Illumina’s inventorship claim based on Mr. Steemers should be dismissed

  under Rule 12(b)(1) for this reason alone. See Whitewater West Indus., 981 F.3d at 1047. Without

  plausibly pleading that Mr. Steemers’s inventions belong to Illumina, Illumina’s ownership claim

  based on Mr. Steemers’s alleged contributions are dead on arrival.

         Illumina has also not alleged it would obtain ownership because of Mr. Steemers’s

  supposedly inventive contributions (were any alleged). Illumina characterizes its employment

  agreements as requiring assignments of “inventions made [i.e., conceived] while employed by


  7
    Dr. Eltoukhy is already a listed inventor of the ʼ366 Patent Family. To the extent Illumina seeks
  to claim ownership over that patent family by virtue of Dr. Eltoukhy’s purported assignment
  obligations, it similarly fails to allege a sufficient ownership interest because it alleges nothing
  about when the inventions claimed in those patents were conceived or whether that occurred while
  Dr. Eltoukhy had any assignment obligation to Illumina.
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  Illumina that are related to Illumina’s business” (Compl. ¶ 19), but again it does not allege when

  the inventions claimed by the ʼ127, ʼ992, or ʼ366 Patent Families were conceived—let alone that

  they were conceived during Mr. Steemers’s employment. At most, Illumina alleges Mr. Steemers

  “contributed to the conception of claimed inventions” during his employment. (Compl. ¶ 96; see

  id. ¶ 90.) As explained above, that is not enough to assert an ownership interest. Again, the legally

  relevant date is the date of conception, not contribution. (See Section IV.B.2.a, supra.) To the

  extent Mr. Steemers’s supposed assignment agreement required assignment of inventions that

  were invented (i.e., conceived) during employment, Illumina has failed to plead an ownership

  interest through Mr. Steemers because Illumina does not allege when the inventions were

  conceived and it does not allege the dates of Mr. Steemers’s employment at Illumina. 8

                 3.      Illumina Cannot Challenge Patent Applications under Section 256

         The Court should dismiss Illumina’s claims under Section 256 seeking to change

  inventorship and transfer ownership of the nine patent applications, of which it alleges that both

  Dr. Eltoukhy and Mr. Steemers are joint inventors. (See Compl. ¶¶ 82, 143(A)-(B).) Section 256

  authorizes courts to change the inventorship only of issued patents, not pending patent

  applications, Hor v. Chu, 699 F.3d 1331, 1335 (Fed. Cir. 2012) (“A [Section] 256 claim for

  correction of inventorship does not accrue until the patent issues.” (emphasis added)), and Section

  116(c), which allows for the USPTO to change inventorship of patent applications, does not create

  a “private cause[] of action,” Pappalardo v. Stevins, 746 F. App’x 971, 973-74 (Fed. Cir. 2018).

         Illumina knows this: it has successfully made this exact argument before this very Court.

  Czarnik, 437 F. Supp. 2d at 255, 257-58 (granting Illumina’s motion to dismiss inventorship claims

  directed to pending patent applications because Section 256 only “permits district courts to make


  8
    Any agreement purporting to require assignment of Mr. Steemers’s post-employment inventions
  is likely invalid. See Section IV.B.2.a, supra.
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  changes to inventorship on issued patents,” not patent applications (emphasis added)). And as the

  Sixth Circuit has explained, this statutory structure is both intentional and purposeful:

                 While the patent is still in the process of gestation, it is solely within
                 the authority of the Director. As soon as the patent actually comes
                 into existence, the federal courts are empowered to correct any error
                 that the Director may have committed. Such a scheme avoids
                 premature litigation and litigation that could become futile if the
                 Director declined to grant a patent or voluntarily acceded to the
                 claims of the would-be inventor prior to issue.

  E.I. Du Pont de Nemours & Co. v. Okuley, 344 F.3d 578, 583-84 (6th Cir. 2003).

         Illumina asks the Court to change the inventorship of the applications “if issued as patents”

  (see, e.g., Compl. ¶¶ 143(A)-(B)) but this just confirms that Illumina’s claim is “not ripe.” Display

  Research Labs., Inc. v. Telegen Corp., 133 F. Supp. 2d 1170, 1174 (N.D. Cal. 2001).

         C.      Illumina’s Trade Secrets Misappropriation Claim Fails as a Matter of Law

         Illumina’s claim for misappropriation of trade secrets under CUTSA fails for at least two

  related reasons. First, Illumina’s allegations of trade secrets are too vague to satisfy the applicable

  pleading standard. Second, the only alleged trade secrets identified with any particularity are not

  secret: they were publicly disclosed in patent applications and are time-barred.

                 1.      Illumina Has Not Adequately Alleged a Trade Secret

         Illumina’s Complaint fails on the first element of its misappropriation claim—Illumina has

  not identified any purported trade secret.9 To adequately identify a trade secret, Illumina must

  “describe the subject matter of the trade secret with sufficient particularity to separate it from



  9
    CUTSA defines a trade secret as information that: “(1) [d]erives independent economic value,
  actual or potential, from not being generally known to the public or to other persons who can obtain
  economic value from its disclosure or use; and (2) [i]s the subject of efforts that are reasonable
  under the circumstances to maintain its secrecy.” Cal. Civ. Code § 3426.1(d); see Acrisure of
  California, LLC v. SoCal Com. Ins. Servs., Inc., 2019 WL 4137618, at *2 (C.D. Cal. Mar. 27,
  2019) (to state a trade secret misappropriation claim, a plaintiff must allege: (1) “the plaintiff
  owned a trade secret,” (2) “the defendant acquired, disclosed, or used the plaintiff’s trade secret
  through improper means,” and (3) “the defendant’s actions damaged the plaintiff”).
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  matters of general knowledge in the trade or of special knowledge of those persons who are skilled

  in the trade, and to permit the defendant to ascertain at least the boundaries within which the secret

  lies.” Pellerin v. Honeywell Int’l, Inc., 877 F. Supp. 2d 983, 988 (S.D. Cal. 2012). Although

  courts do not require so much detail as to disclose the trade secret itself, courts have “rejected the

  use of ‘catchall’ language, holding that such language is insufficiently specific ‘because it does

  not clearly refer to tangible trade secret material.’” Acrisure, 2019 WL 4137618, at *3 (quoting

  Loop AI Labs Inc. v. Gatti, 195 F. Supp. 3d 1107, 1115 (N.D. Cal. 2016) (rejecting “‘catchall’

  wording such as ‘including’ when describing the trade secrets”)).

         The Complaint comes nowhere near meeting this standard. Instead of pleading a specific

  trade secret, Illumina relies on generalizations and catch-phrases, vaguely alleging that Drs.

  Eltoukhy and Talasaz misappropriated “error correction methods and communication theory

  ideas,” and “knowledge, methods, techniques, processes, programs, and compilations for genetic

  sequencing.” (Compl. ¶¶ 57, 104.) This is nothing more than describing “its purported trade

  secrets in broad, categorical terms, more descriptive of the types of information that

  generally may qualify as protectable trade secrets than as any kind of listing of particular trade

  secrets.” Vendavo, Inc. v. Price f(x) AG, 2018 WL 1456697, at *4 (N.D. Cal. Mar. 23, 2018); see

  Space Data Corp. v. X, 2017 WL 5013363, at *2 (N.D. Cal. Feb. 16, 2017) (rejecting the following

  allegations as insufficiently specific: “data on the environment in the stratosphere” and “data on

  the propagation of radio signals from stratospheric balloon-based transceivers”). Illumina also

  points to the 51,000 emails allegedly retained by Dr. Eltoukhy supposedly containing

  “confidential, proprietary, and trade secret information of Illumina.” (Compl. ¶¶ 65, 106.) These

  are “broad, categorical terms,” not particularized trade secrets, as required under the CUTSA.

  Vendavo, Inc., 2018 WL 1456697, at *4. Illumina also fails to even allege how these purported

  trade secrets derive independent economic value or whether they were subject to reasonable

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  measures to maintain their secrecy. These failures doom Illumina’s trade secrets claim.

         Illumina attempts to offer “[o]ne example” of “information that constitutes a trade secret

  under CUTSA,” pointing to the slide deck that Illumina alleges that Dr. Eltoukhy received from

  Mr. Steemers. (Compl. ¶ 105.) This allegation also fails upon even a cursory review. Illumina

  relies on impermissible catchall language as to what the slides “included, among other things.”

  (Id.) The unidentified “other things” are not described, let alone with sufficient particularity. See

  Acrisure, 2019 WL 4137618, at *3 (rejecting “catchall” language). And as detailed below, the

  limited content in the slides that Illumina is able to identify is content Illumina alleges elsewhere

  in the Complaint has been public for nearly a decade through Guardant’s patents.

                 2.      To the Extent They Are Pleaded with Any Specificity, Illumina’s
                         Claims Are Time-Barred

         The only purported trade secrets Illumina even attempts to identify with anything that even

  approaches specificity are for “information concerning random coding improvement in error rate

  for use in genetic sequencing to obtain better accuracy from fewer sequence reads,” and “methods

  for grouping sequence reads into families and then collapsing those reads into a single consensus

  sequence from the sequence reads in the families.”10 (Compl. ¶¶ 41, 57.) Illumina alleges these

  purported trade secrets were contained in the PowerPoint slides Dr. Talasaz allegedly received

  from Mr. Steemers and provided to Dr. Elotoukhy. (Id. ¶¶ 41, 46, 49-50.) While these allegations

  still lack sufficient particularity to allege a trade secret (see supra Section IV.C.1), they do reveal

  Illumina’s trade secret claims are years out of time—these purported trade secrets contain the very

  same information Illumina claims Mr. Steemers and Dr. Eltoukhy contributed to the inventions

  Guardant made public in a series of patents at least as early as 2015 and 2016. In fact, with


  10
    Paragraph 41 clearly references the content purportedly contained in the slide deck; paragraph
  57’s reference to “[m]aterials that Eltoukhy obtained from Illumina employees” is either
  describing the same content or is ambiguous and should be disregarded.
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  reference to this purported trade secret information, Illumina expressly states, “Eltoukhy and

  Talasaz used the Illumina information . . . including in patent applications that issued as U.S.

  patents.” (Compl. ¶¶ 50, 57.) Therefore, based on its own binding pleading admissions, Illumina

  has been on constructive notice (if not actual notice) of any alleged misappropriation of the

  specified information since that years-old publication and its claims are time-barred.

         Misappropriation claims under CUTSA are subject to a three-year limitations period. Cal.

  Civ. Code § 3426.6.      While Illumina alleges it was unaware of the “removal of Illumina

  confidential information . . . until in or around June 2019” (Compl. ¶ 75), Illumina fails to allege

  it was unaware of Guardant’s purported publication of Illumina trade secrets in Guardant patents

  prior to that time. Illumina’s Complaint calls out three specific patents: the ʼ731 Patent (id. ¶ 58);

  ʼ992 Patent (id. ¶ 59); and ʼ127 patent (id. ¶ 61)—each of which was issued in either 2017 (the

  ʼ731 Patent) or 2018 (the ʼ992 and ʼ127 Patents), and applied for in either 2015 (the ʼ731 and ʼ127

  Patents) or 2016 (the ʼ992 Patent). (See id., Exs. A, D, F.) “[S]urely publication of patents (and

  now patent applications) must be deemed, as a matter of law, to place those practicing in the same

  field and prosecuting their own patent applications in the same field on full notice of all of the

  contents of the publication.” Wang v. Palo Alto Networks, Inc., 2014 WL 1410346, at *6 (N.D.

  Cal. Apr. 11, 2014) (collecting cases and dismissing trade secrets claim as time-barred).

         Illumina “has pled no facts that show [an] inability to discover these applications following

  their publication despite reasonable diligence.” Klang v. Pflueger, 2014 WL 4922401, at *6 (N.D.

  Cal. Oct. 2, 2014) (granting motion to dismiss).11 Because Illumina’s claims of misappropriation

  are based on content published in the identified patents, each of which was issued more than three



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    To the contrary, Illumina’s claim to inventorship requires that the inventions in question be
  “related to Illumina’s business,” so if it pleaded that it did not review these patents because they
  were unrelated to its business, that would be another reason why its inventorship claim fails.
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  years prior to Illumina filing this action in March 2022, its claims are time-barred and must be

  dismissed. Regents of Univ. of California v. Chen, 2017 WL 3215356, at *4-5 (N.D. Cal. July 26,

  2017) (applying Wang to hold that “the issuance of the [patent] . . . sufficed to put the University

  on notice of all claims arising out of this patent,” and rejecting “the University[’s] argu[ment] that

  its notice constitutes a question of fact that cannot be resolved on a Rule 12 motion to dismiss”);

  see also Cal. Civ. Code § 3426.6.

         D.      Illumina’s Breach of Contract Claims Fail as a Matter of Law

         Illumina’s breach of contract claims against Drs. Eltoukhy and Talasaz fail as a matter of

  law because they are also barred by the statute of limitations and insufficiently pleaded. 12

                 1.      Illumina’s Breach of Contract Claims Are Untimely

         Illumina’s breach of contract claims against Drs. Eltoukhy and Talasaz are barred by

  California’s four-year statute of limitations. See Cal. Code Civ. Proc. § 337(a). Statutes of

  limitations accrue upon the “occurrence of the last element essential to the cause of action.” Apple

  Inc. v. Allan & Assocs. Ltd., 445 F. Supp. 3d 42, 58 (N.D. Cal. 2020). Illumina’s contract claims

  are timely only if they accrued on or after March 17, 2018. They did not. Illumina’s contract

  claims arise from alleged conduct that occurred a decade ago, well outside the limitations period.

         The Complaint alleges Drs. Eltoukhy and Talasaz breached various “employment contracts

  and company policies” by “incorporat[ing] Guardant” in 2011. (Compl. ¶¶ 122, 125, 133, 136.)

  The Complaint further alleges Dr. Eltoukhy breached these contracts by (1) “acting as an advisor,

  corporate agent, and fiduciary of Guardant while employed by Illumina” (id. ¶ 125);




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    Illumina does not specify whether it brings these claims under Delaware or California law, but
  because the contracts were executed and performed in California by California residents and a
  California-domiciled corporation, and in the absence of any alleged forum-selection clause,
  California law applies. See generally Corning Inc. v. SRU Biosystems, LLC, 292 F. Supp. 2d 583,
  584 (D. Del. 2003) (“Delaware courts apply the most significant relationship test.”).
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  (2) transferring “Illumina confidential and propriety information outside of Illumina” (id.; see id.

  ¶¶ 40-49, 53-57); (3) and “conribut[ing] to the development of Guardant’s technology while an

  employee of Illumina” (id. ¶ 125). This alleged conduct purportedly took place before Dr.

  Eltoukhy left Illumina in January 2013 (id. ¶ 63)—many years outside the limitations period.

  Illumina’s contract claims based on Drs. Eltoukhy and Talasaz’s purported misappropriation of

  proprietary information after their employment at Illumina ended (id. ¶¶ 125-26, 136-37) are also

  time-barred. As discussed above, the allegedly misappropriated information was incorporated in

  patent applications filed in 2015 and 2016—meaning Illumina’s claims expired, at latest, by 2020.

         Even though every single purported breach occurred more than a decade ago, Illumina

  attempts to rescue its claims by saying it “first learned” of the alleged conduct it now claims are

  breaches in June 2019 and January 2020. (Compl. ¶¶ 128, 139.) This allegation is absurd.

  Illumina has been Guardant’s supplier and close partner for nearly a decade: Illumina entered a

  supply agreement with Guardant in 2014 and has had visibility into Guardant’s business and

  technology for many years. Regardless, the allegations in the Complaint and publicly available

  information make clear that Illumina, at a minimum, should have known of the supposed breaches

  long before June 2019 and thus cannot invoke the discovery rule to revive its time-barred claims.

         Under California law, the discovery rule only applies to “unusual breach of contract

  actions” where the breaches “are committed in secret” and “the harm flowing from those breaches

  will not be reasonably discoverable by plaintiffs until a future time.” NBCUniversal Media, LLC

  v. Superior Court, 225 Cal. App. 4th 1222, 1233 (Cal. Ct. App. 2014). The discovery rule cannot

  save Illumina’s claims because any breach was “reasonably discoverable” by Illumina long ago:

  Illumina had access to Drs. Eltoukhy’s and Talasaz’s Illumina email accounts and Mr. Steemer’s

  work emails (and, if he was still an employee, to him), and, with minimal diligence and a review

  of their email accounts, could have discovered any purported transfer of confidential information

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  nearly ten years ago. Further, the alleged conduct underlying Illumina’s contract claims was far

  from “secret.” The fact that Guardant was incorporated in 2011 and that Drs. Eltoukhy and Talasaz

  co-founded Guardant in 2012 was disclosed in SEC filings, in press releases, and in other public

  sources. (See note 1, supra.) And as discussed above, the allegedly misappropriated information

  was incorporated in patent applications that have been public since 2015 and 2016. This publicly

  available information put Illumina on—at the very least—inquiry notice of the alleged breaches,

  and precludes Illumina from invoking the discovery rule to circumvent the statute of limitations

  bar. See Plumlee v. Pfizer, Inc., 664 F. App’x 651, 653-54 (9th Cir. 2016) (claims time-barred

  where documents publicly available during limitations period discussed facts underlying claims);

  Vint v. Universal Studios Co. LLC, 2021 WL 6618535, at *4 (C.D. Cal. Apr. 29, 2021) (contract

  claims time-barred where alleged breach “was reasonably discoverable” due to “public release” of

  film containing misappropriated ideas). Illumina knew, or at a minimum, should have known long

  before June 2019 of the alleged conduct that it now claims are breaches of contract. Yet Illumina

  sat on its rights and its contract claims are now expired.

                 2.      Illumina’s Breach of Contract Claims Are Deficient Because Illumina
                         Fails to Plead the Essential Terms of the Contracts

         Even if Illumina’s contract claims were timely, they still must be dismissed because they

  are insufficiently pleaded. To state a breach of contract claim, a plaintiff “must either attach a

  copy of the contract to the complaint or plead the essential terms of the contract.” Gross v.

  Symantec Corp., 2012 WL 3116158, at *11 (N.D. Cal. July 31, 2012). Illumina fails to state a

  claim under this standard. The Complaint fails to identify the essential terms of any contract Drs.

  Eltoukhy and Talasaz purportedly breached and does not even say “how many agreements are at

  issue.” Langan v. United Servs. Auto. Ass’n, 69 F. Supp. 3d 965, 980 (N.D. Cal. 2014). Rather,

  the Complaint refers generally to “various employment contracts and company policies” Drs.


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  Eltoukhy and Talasaz supposedly agreed to abide by as part of their employment with Illumina.

  (Compl. ¶¶ 122, 133). These contracts “includ[ed]” at least four agreements: (1) a Proprietary

  Information and Invention Agreement (“PIIA”); (2) a Confidentiality Agreement; (3) a Code of

  Ethics; and (4) a Termination Certification. (Id. ¶ 18.) The Complaint does not distinguish among

  these contracts and points to a handful of alleged general terms without identifying the contract in

  which they are included or what alleged conduct by Drs. Eltoukhy and Talasaz breached each of

  those terms.13 Without allegations setting forth the “material terms” of the contracts and “which

  obligations” Drs. Eltoukhy and Talasaz allegedly breached, Illumina’s claims must be dismissed.

  Langan, 69 F. Supp. 3d at 979-80 (dismissing contract claim where the complaint leaves “no way

  for the Court [to] know even generally what the terms of the contract or contracts were”); see

  AlterG, Inc. v. Boost Treadmills LLC, 388 F. Supp. 3d 1133, 1147 (N.D. Cal. 2019) (dismissing

  contract claim because plaintiff failed to “plead[] all of the essential terms” of the contracts).

         E.      This Court Lacks Personal Jurisdiction over Dr. Eltoukhy and Dr. Talasaz

         Illumina’s trade secret and contract claims against Dr. Eltoukhy and Dr. Talasaz

  independently fail for lack of personal jurisdiction. Drs. Eltoukhy and Talasaz are residents of

  California (Compl. ¶¶ 12-13), and none of the events giving rise to Illumina’s claims are alleged

  to have occurred in Delaware. All Illumina pleads as a basis for this Court’s exercise of personal

  jurisdiction over Drs. Eltoukhy and Talasaz is: (1) Guardant’s incorporation in Delaware and their

  roles as directors and officers; and (2) their involvement in unrelated patent litigation with a



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    See, e.g., Compl. ¶ 19 (referencing general requirements of “[t]he employment agreements and
  company policies to which Eltoukhy and Talasaz agreed”); id. ¶ 67 (alleging that “[b]y taking
  those documents from Illumina, Eltoukhy violated his obligations under the employment contracts
  and company policies,” but not specifying which contracts, policies, or terms were violated); id.
  ¶ 125 (stating that “Eltoukhy materially breached the PIIA, the Confidentiality Acknowledgement,
  and Code of Ethics, respectively, in numerous ways and at numerous times,” and providing
  examples of conduct without specifying what terms or which contracts that conduct violated).
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  Massachusetts-based entity. (Id. ¶ 15.) Neither allegation can establish personal jurisdiction.

         First, Guardant’s incorporation in Delaware does not give rise to personal jurisdiction over

  its senior executives. The fiduciary shield doctrine bars personal jurisdiction over an individual

  based on “acts performed by [that] individual in the individual’s capacity as a corporate

  employee”—including incorporation of the entity and acting as a senior executive of that entity.

  Reach & Assocs., P.C. v. Dencer, 269 F. Supp. 2d 497, 503-04 & n.2 (D. Del. 2003) (applying

  fiduciary shield doctrine and holding that “the incorporation of . . . the Delaware corporations for

  which [the defendant] was President and CEO” was “insufficient to establish jurisdiction”).

         Second, Guardant’s filing of a lawsuit in this District against Foundation Medicine, Inc.

  cannot establish personal jurisdiction over Dr. Eltoukhy or Dr. Talasaz. Neither Dr. Eltoukhy nor

  Dr. Talasaz was a party to that litigation. See Wiggins v. Physiologic Assessment Servs., LLC, 138

  A.3d 1160, 1169-70 (Del. Super. Ct. 2016) (even if organization’s filing of counterclaims qualified

  as consent to personal jurisdiction, consent could not be “imputed” to CEO to find waiver of CEO’s

  “defense to personal jurisdiction by this Court over his person”). Even if Drs. Eltoukhy and

  Talasaz were parties to it (and they were not), that litigation would not establish personal

  jurisdiction because it arose from unrelated conduct—Foundation Medicine’s infringement of

  Guardant’s patents. Joint Stock Soc. Trade House of Descendants of Peter Smirnoff, Off. Purveyor

  to the Imperial Ct. v. Heublein, Inc., 936 F. Supp. 177, 194 (D. Del. 1996) (filing of lawsuit in

  Delaware and incorporation in Delaware do not establish personal jurisdiction where those “acts

  have not caused the ‘tortious injury’ that forms the basis of [the] complaint”). The Court should

  dismiss the claims against Drs. Eltoukhy and Talasaz for lack of personal jurisdiction.

  V.     CONCLUSION

         For the foregoing reasons, this Court should dismiss the Complaint.



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  Dated: May 25, 2022




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